CaSe:15-22146-|\/|ER DOC#ZZO Filed212/22/15 Entered212/22/1515228238 Pagel Ofl

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO
The I-Ionorable Michael E. Romero

ln Re: )

CALVO, Roy )

CALVO, Della ) Case No. 15-22146-MER
) Chapter 7

chtors. )

 

STATEMENT UNDER PENALTY OF PERJURY
CONCERNING PAYMENT ADVICES
DEBTOR DELLA CALVO

 

I, Della Calvo, state as follows:

I did not file with the Court copies of some or all payment advices or other evidence of
payment received within 60 days before the date of the filing of the petition from any employer
because:

Check applicable boxes:

El I was not employed during the period immediately preceding the filing of the above-
referenced case, 2f2015 through 10;'2015.

l:l l was employed during the period immediately preceding the filing of the above
referenced case but did not receive any payment advices or other evidence of payment from my
employer within 60 days before the date of the filing of the petition;

l:| 1 am self-employed and do not receive any evidence of payment from an employer;

|:l Other (please provide explanation):

l declare under penalty of perjury that the foregoing statement is true and correct

Dated: December 18, 2015

 

 

By: Respectfully submitted,
_ Law Offices of Vi nt J. Buzek, LLC
ella Calvo Vincent‘J. Buzek #24"275
5?0 London Avenue 2 Garden Center, Suite 305
Lafayette, CO 80241 Broomfield, CO 80020

(303) 465-5555
ATTORNEY FOR DEBTOR

